Case 3:24-cv-30027-MGM Document 2-3 Filed 02/14/24 Page1of1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

== =, “| 2
1. Title of case (name of first party on each side only) \“Avl Danes \/ > VON Orpry /S a fe

2. Gategory In which the case belongs based upon the numbered nature of sult code listed on the civil cover sheet. (See local

rule 40.1(a)(1)). ,
I. 410, 441, 470, 635, 830°, 836", 891, 893, 896, R.23, REGARDLESS OF NATURE OF SUIT.
~

[ep 110, 130, 140, 160, 190, 196, 230, 240, 280,320,362, 370, 371, 380, 430,(a4o,a42, 443, 445, 446, 448, 710, 720,
740, 780, 820°, 840°, 860, 870, 871.

[| Hh. 120, 160, 161, 162, 163, 195, 210, 220, 246, 310, 316, 330, 340, 345, 360, 365, 360, 365, 367, 368, 376, 376, 386,
400, 422, 423, 450, 460, 462, 463, 465, 480, 490, 510, 630, 640, 660, 655, 625, 690, 751, 791, 861-865, 890, 896,
895, 960.

*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
district please Indicate the title and number of the first filed case In this court. ,

NIA
C
4. Has a prior action between the same parties and based on the same claim ever bee, din this 5 Ie ae
YES NO

5. Does the complaint In this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
YES LJ NO Lae
YES LJ NO [—

6. Is this case required to be heard and determined by a district court of three Judges pursuant to title 28 USC §22847

Hf 80, Is the U.S.A. or an officer, agent or employee of the U.S. a party?

YES NO
7. Doall of the parties In this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”), residing In Massachusetts reside In the, division? - Local Rule 40.1(d)).
VES NO
A. if yes, In which divis _all of the non-governmental 3 reside?
Eastern Division Central Division “T Western Division LJ
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing In Massachusetts reside?

Eastern Division LJ Central Division [] Western Division [A

8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
submit a separate sheet identifying the motions)
YES L] NO LJ

(PLEASE TYPE OR PRINT) ?p == ry
ATTORNEY'S NAME fy ol Soe S rro [Se

ADDRESS 74 Tho mp Spay St, =o rraoatie/TIa ~NA_OUDG
TELEPHONE NO. @17-929-SY/ 7 ~

(CategoryForms-2017.wpd )
